* SDNY-WP (Rev. 12/21) , : XM,
AO 98 (Rev. 12/11) Appearance Bond °

_ UNITED STATES DISTRICT COURT -

for the -
Southern District of New York

United States of America )y

. Ve
‘ ) . Case No. 25MJ839
MARK SIMON )
Defendant )
APPEARANCE BOND

Defendant’s Agr eement

I, -~ MARK SIMON (defendani}, agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail: .
( % ) to appear for court proceedings,
x ) — ifconvicted, to surrender to serve a sentence that the court may impose; or
«x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond

( ) (1) This is a personal recognizance bond.
( * ) (2) This is an unsecured bond of $50,000.00. (x) Cosignedby__2 _ FRP.

( ) @) This is a secured bond of , secured by:

{ ) fa , in cash deposited with the court.

( ) (b) the agreement of the defendant and each surety to forfeit the following cash or other propertly
(describe the cash or other property, including elaims on if —such as a tien, mor (gage, or ‘fean — and attach proof of
ownership and value}:

_ If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( ) (cs) a bail band with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

( ) (d) Cosigned by FRP,

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance botid may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement, At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

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AO 98 (Rev, [2/11) Appearance Bond

_ Release of the Bond. The court may order this appearance bond ended at any time, This bond will be satisfied and the
-security will be released when either: (1) the defendant is found not puilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. I, the defendant — and each surety — declare under penalty of perjury that:

(1) ~~ all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

G3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond ts in effect,

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

Mey
Date: 03/12/2025 .

Defendant's Signatre MARK SIMON inept
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Surety/property owner - printed name oO Surety/property owner - signature and date Deputy Clerk's dnterpreie
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CLERK OF COURT

Date: _ 03/12/2025. Sabtak. Brown

Signature af Deputy Clerk

‘Approved.

Judicial Officer's Signature

Hon. Andrew E. Krause, U.S. Magistrate Judge

Printed Nanie and Title

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25MJ839

AQ 98 (Rev. 12/11) Appearance Bond

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CLERK OF COURT

Date; _ 03/12/2025 _ oatpak Brown

Signature of Deputy Clerk

Approved.. .
Date: _ 03/12/2025 Chau np

Judicial Officer's Signenwe

Hon. Andrew E. Krause, US. Magistrate Judge

Printed Name and Title

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AO 98 (Rev. 12/11} Appearance Bond

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fl poo _
Date: _ 03/12/2025 CA
Defendant’s Signature MARK SIMON Tilerpreset
: MUGS
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Heathe- Maratde gy 3S 1S/ 2S
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CEERK OF COURT

Date: 03/12/2025 Sahhah Brown

Signature of Deputy Clerk

. Approved.
Date: _ 03/12/2025 Ch baer bn

— Judicial Officer's Signature

Hon, Andrew E. Krause, U.S. Magistrate Judge

Printed Naine and Title

AO 199A (Rev. 06/19) Order Setting Conditions of Release

UNITED STATES DISTRICT COURT
for the
Southern District of New York

United States of America
vy,
MARK SIMON |
’ Defendant
ORDIER SETTING CONDITIONS OF RELEASE

Case No. 25MJ839

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ITIS ORDERED that the defendant’s release is subject to these conditions:
(1). The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C, § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

Piace

on

Date and Time

If blank, defendant will be notified of next appearance.

(5). The defendant must sign an Appearance Bond, if ordered.

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AO 1998 (Rev. 09/24) Additional Conditions of Release. Bo ©. MARK SIMON > 2sMBa9

ADDITIONAL CONDITIONS OF RELEASE —

Pursuant to 18 U. 1S. Cc, 48 3 142()(1)(B), the court may impose > the following least restrictive condition(s) only as necessary to reasonably assure the
appearance ‘of the person as required and the safety of any other person and the community.

IT 1S FURTHER ORDERED that the defendant’ s release is subject to the conditions marked below:

(Oy) ©) The defendant i is. placed i in the custody of:

Person or organization
Address fonty if above fs an i organization) :
City and state - Tel. No.

who agrees to (a) supervise the defendant, (b):use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody;

((¥]} (7) The defendant must:

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(1) ©
(1) @)
(i) ©)
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(fH) @)

(C1) )
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(1) (m)

(O) @)

(O) ©)
(1) ()

O)@

Signed:

Custodian , Date
submit to supervision by and report for supervision to the PRETRIAL SERVICES FOR [_] Regular; L_] stries As Directed
telephone number =~ , no Tater than ,
continue or actively seek employment.

continue or start an education program,

surrender any passport to: PRETRIAL SERVICES
not obtain a passport or other international travel document.

abide by the following restrictions on personal association, residence, or travel: SDNY/EDNY/SOUTHERN DISTRICT OF
FLORIDA FOR COURT PURPOSES AND ATTORNEY MEETINGS ONLY. .

avoid all contact, directly or indirectly, with any person who is or may be a victim or wilness in the investigation or ‘prosecution,
including: UNLESS IN THE PRESENCE OF COUNSEL,

get medical or psychiatric treatment:

return to custody each at o'clock after being released at o'clock for employment, schooling,
or the following purposes: :

‘maintain residence at a halfway house or community corrections center, as (he pretrial services office or supervising officer considers

necessary.
not possess a firearm, destructive device, or other weapon.
not use atcohol ¢ [7] )at all ( EE] ) excessively.
not use or unlawfully possess a narcotic drug or other controlled substances defined i in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

submit to testing for a prohibited substance, if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, wearing a sweat patch, submitting to a breathalyzer, and/or any other form of
prohibited substance screening or testing. The defendant must not obstruct, altempt toobstruct, or tamper with the efficiency and
accuracy of substance screening or testing of prohibited substances,

participate in a program of inpatient or outpatient substance use treatment, if directed by the pretrial services office or supervising
officer.

participate in the remote alcohot testing program using continuous electronic alcohol testing and comply with its requizements as
directed, including, not consuming afeahol.

(1) pay all or part of the cost of remote alcohol testing, including equipment loss or damage, based upon your ability to Pay, as
determined by the pretrial services or supervising officer.

participate in the tocation monitoring program and comply with the requirements, as directed in subsections i, ii, and ji,
i. Following the location restriction component (check one): ,

(L131) Curfew. You are restricted to your residence every day (E)) from to or (E] as
- . . directed by the pretrial services office or supervising officer; or
(oo } (2) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
: _. medical, substance use, or méntal health treatment; attorney visits; court appearances; court-ordered obligations, activities
. approved by the court; or essential activities approved in advance by the pretrial services ‘office or supervising officer; or
(EJ) @) Home Incarceration, You are restricted to 24-hour-a-day lockdown at your residence except for medical necessities and
’ ‘court appearances or activities specifically approved by the court; or
() (4) Stand-Alone Monitoring, You have no residential component (curfew, home detention, or home incarceration) restrictions.
However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand-alone inonitoring
_ should be used in conjunction with global positioning system (GPS) or virtual mobile application technology.

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AO 1998 Rev. Of Adon Coniions fRekease MARK SIMON  25M839

I

_ ADDITIONAL CONDITIONS OF RELEASE

(ily submit to the following location: monitoring technology (check one):

( J) 1) Location moniloring technology as directed by the pretrial services or supervising officer; ¢ or
(1) ¢2) GPS; or
(£1) (3) Radio Frequency; or

(1) (4) - Voice Recognition; or ”

(3) (5) Virtual Mobile Application. You must allow the pretrial services or supervising officer to conduct initial and periodic
inspections of the mobile device and mobile application to verify that 1) the monitoring software is functional, 2) the
required configurations (e.g., locational services) are unaltered; and 3) no efforts have been made to alter the mobile

: application.
(ili) (FO) pay all or part of the cost of location monitoring, including equipment loss or damage, based upon your sity to © pay, as
determined by the pretrial services or. supervising officer :

([J) (r} report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

(7) (s) SEE BELOW

1, Refrain from owning or possessing any firearms, weapons or destructive devices, nor reside in a home where
any firearms are present. .

2. Must remove firearms from residence and/or place of business by 3/ 19/2025 and provide proof to Pretrial
Services.

Defense Counsel Name: JEFFREY CHARTIER

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- Defense Counsel 1 Telephone Number: 0 | 5) Oo 4 2-x5 ry y iS «
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Defense Counsel] Email Address: + fe ES& ‘eH bmp | / Cs Ay

AO 199C (Rev. 09/08) Advice of Penalties
ADVICE OF PENALTIES AND SANCTIONS
TO. THE DEFENDANT: MARK SIMON. : Case No, 25MJ839_

YOU ARE ADVISED OF THE F OLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release 1 may result i in the immediate i issuance of a warrant for your arrest, ¢ a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for “contempt of court and could-result in
_imprisonment, a fine, or both.
. While on release, if you commit a federal felony offense the punishment j is an additional prison term of not more than ten years
_ and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year, This sentence will be
consecutive (ie, in addition to) to any other sentence: you receive.
It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt_to retaliate against a witness, victim, or informant, or intimidate or attempt
- fo intimidate a. witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
If, after release, you knowingly fail to appear as the conditions of release requite, ¢ or fo surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
(1). an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined
‘not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for'a term of five years or more, but Jess than fifteen years — you will be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor — you will be fined not. more than $100,000 or imprisoned not more than one year, or both.
. A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure ta appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

Tacknowledge that I am the defendant in this case and that I am aware of the conditions of release, I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

LE ——-

Date: 03/12/2025 _£
Defendant's Signature MARK SIMON

[_] DEFENDANT RELEASED

City and State

Directions to the United States Marshal

( A The defendant is ORDERED released after processing.
The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
the appropriate Judge at the time and dplace specified. —

Date: 3/12/2025 - Cfo L rc

Judielal Officer's Signattre

Hon. Andrew E. Krause, U.S. Magistrate Judge

Printed Name and Title

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE ULS.ATTORNEY U.S, MARSHAL

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AO 199C (Rev. 09/08). Advice of Penalties

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' Southern District of New York

yo. The Bronx
Manhattan -
_ Westchester
.. Reckland
Dutchess
. Orange
Putnam
Sullivan

Eastern District of New York

Brookbn (Kings Ccunty)
Queens (Queens County)

Staten island [Richmond Ceuntly)

Leng Island (Nassau & Suffcilk}

